 4:07-cr-03167-RGK-DLP   Doc # 30   Filed: 01/16/08   Page 1 of 1 - Page ID # 45



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3167
                                     )
           v.                        )
                                     )
CRISTOBAL CAMACHO,                   )                   ORDER
                                     )
                Defendant.           )
                                     )



     IT IS ORDERED,

     The motion of Joseph F. Gross, Jr., to withdraw as counsel

for defendant Cristobal Camacho, filing 29, is granted.


     DATED this 16th day of January, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
